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                                    UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         PORTLAND DIVISION

DR. RUPA BALA,                                       No.: 3:18-CV-00850-HZ

                       Plaintiff,                    DECLARATION OF MEGAN S.
                                                     BRADFORD IN SUPPORT OF
         v.                                          DEFENDANTS’ MOTIONS TO
                                                     EXCLUDE EXPERTS
OREGON HEALTH AND SCIENCE
UNIVERSITY, an Oregon public
corporation; DR. CHARLES HENRIKSON,
an individual; DR. JOAQUIN CIGARROA,
an individual,

                       Defendants.



         I, Megan S. Bradford, declare and state as follows:

         1.        I am an attorney at Stoel Rives LLP, and I am one of the attorneys of record for

Oregon Health and Science University, Dr. Charles Henrikson and Dr. Joaquin Cigarroa

(collectively “Defendants”). I make this declaration in support of Defendants’ Motion to

Exclude Experts.

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         2.        Attached as Exhibit 1 is a true and accurate copy of the expert report authored by

Dr. Peter Glick.

         3.        Attached as Exhibit 2 is a true and accurate copy of Dr. Glick’s deposition.

         4.        Attached as Exhibit 3 is a true and accurate copy of the expert report authored by

Dr. Molly Carnes.

         5.        Attached as Exhibit 4 is a true and accurate copy of Dr. Carnes’s deposition.

         6.        Attached as Exhibit 5 is a true and accurate copy of the expert report authored by

Lisa Broten.

         7.        Attached as Exhibit 6 is a true and accurate copy of Ms. Broten’s deposition.

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

           DATED: March 19, 2024               STOEL RIVES LLP


                                                s/ Megan S. Bradford
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                DEFENDANTS’ MOTIONS TO EXCLUDE EXPERTS

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